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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                             CASE NO. 18-81004-CIV-ALTMAN/Brannon

  MELANIE DAVIS,
  on behalf of herself and others similarly situated,

         Plaintiffs,

  v.

  POST UNIVERSITY, INC.,

        Defendant.
  _____________________________________/

                                               ORDER

         THIS CAUSE came before the Court upon the parties’ Joint Motion Ordering Mediation

  [ECF No. 53]. The Motion is GRANTED.

         The mediation in this matter shall be held before Hunter Hughes at 1075 Peachtree Street,

  Atlanta, Georgia on June 7, 2019 at 9:00 a.m.

         Within seven days of the mediation, the parties shall file a joint mediation report with the

  Court. The report shall indicate whether the case settled (in full or in part), whether it was

  adjourned, or whether the mediator declared an impasse.

         Failure to comply with this Order may result in sanctions, including dismissal without

  prejudice and without further notice.

         DONE AND ORDERED in Fort Lauderdale, Florida this 22nd day of May, 2019.




                                                          _________________________________
                                                          ROY K. ALTMAN
                                                          UNITED STATES DISTRICT JUDGE
  cc:    counsel of record
